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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

  IRA KLEIMAN, as personal representative of
  the estate of David Kleiman, and W&K INFO
  DEFENSE RESEARCH, LLC

         plaintiffs,
  v.                                                             Case No. 9:18-cv-80176 (BB/BR)

  CRAIG WRIGHT,

        defendant.
  _____________________________________/

                         DR. CRAIG WRIGHT’S DISCOVERY MEMORANDUM

         Today, at 12:17 pm, the Court set a discovery hearing for Wednesday, November 20 at

  3:30 am. Twelve (12) minutes later, plaintiffs served a purported “Joint Discovery Memorandum”

  that they drafted more than a week ago. The Court’s procedures call for this memorandum to be

  subjected to a meet and confer process and differences resolved or jointly stated in a joint filing by

  3:30 pm, or within three hours of plaintiffs’ serving their unilateral memorandum. Plaintiffs’

  memorandum which they drafted on November 7th, is attached as Exhibit A. Plaintiffs requested

  a discovery hearing last Friday (Nov. 15th), and should have provided their unilateral

  memorandum at that time.

         Under these circumstances, Dr. Wright is forced to submit his memorandum separately,

  but stands ready to submit a joint memorandum tomorrow by 3:30 p.m., if the Court will provide a

  one-day extension and leave for additional pages (plaintiffs’ submission nearly takes up the entire

  five-page limit). First, we will address the two issues that plaintiffs raise in their motion, and

  second, we will raise our own discovery issues.

         Addressing plaintiffs’ argument regarding ESI, the “video” data share was not produced

  because a review of the file listing demonstrated that the files have nothing to do with this case,
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  such as music videos, movies, and music. In fact, on May 20, 2019, we provided plaintiffs with a

  list of these files. They have yet to identify a file that they want produced. As for “work” data,

  counsel for Dr. Wright reviewed the filenames and produced 26.9 gigabytes of data for plaintiffs.

  We cannot use the search terms that plaintiffs provided unless the data is processed and uploaded

  onto an online platform. This will cost over $100,000 to do, which is not proportional to the needs

  of the case because the files have nothing to do with this case. As for “public” data share, we

  produced in its entirety any files that were from Dr. Wright as the user (21.57 gigabytes). The

  other users were not relevant to this case and would cause an unnecessary production of, inter alia,

  audio books and music.

           As for the expedited responses to plaintiffs’ discovery requests, Dr. Wright’s position is

  that the responses are due on December 2. During settlement negotiations, the parties agreed to

  two thirty-day extensions of litigation deadlines (that we are permitted to agree to). Furthermore,

  Amanda McGovern and Zaharah Markoe are currently traveling abroad to get the answers to

  plaintiffs’ complex and lengthy discovery requests. We are moving as fast as we can. Plaintiffs’

  request that the responses be due on November 13, five days ago, is improper and unwarranted.

  These were not simple discovery requests and plaintiffs actively choose not to serve them until

  near the end of the discovery period. Dr. Wright will serve his discovery responses on December

  2.

          Moreover, this is the second time that plaintiffs have improperly disclosed privileged and

  confidential mediations and settlement discussions. Even worse, plaintiffs are making utter

  misrepresentations, such as that “Craig could no longer finance the settlement and was ‘breaking’

  the non-binding settlement agreement.” Ex. A at 3. They know full well that their own actions

  destroyed any possibility of settlement and that Dr. Wright never represented that he was funding



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  a penny for settlement. It is also of note that plaintiffs used this “settlement” ploy to request an

  expedited deposition of Jamie Wilson. During his expedited deposition, we learned that the

  plaintiffs’ arguments for an expedited deposition were outright false: (1) Mr. Wilson had reached

  out to plaintiffs in July of this year and gave them documents, which they never provided to us and

  was months before any settlement discussions; (2) he never requested a subpoena through the

  Hague Convention; and (3) he frequently travels to the U.S. and has always made himself

  available to plaintiffs for his deposition.

          Separately, Dr. Wright requests that the Court compel plaintiffs to produce: (1) Dave

  Kleiman’s tax returns, which we’ve been requesting for many months, but we have not received;

  and (2) Dave Kleiman’s financial documents, including bank statements, credit-card statements,

  past-due notices, bills, and loan statements (mortgage and car). Plaintiffs haven’t produced any of

  this to us, which is critical in a case where Dave Kleiman’s credit report shows that on the day he

  likely died he applied for, but was denied, what amounts to a payday loan. We ask that plaintiffs

  produce these documents no later than November 22. We are deposing a witness on November 25,

  and it would be helpful to have those documents before that deposition.

                        CERTIFICATE OF GOOD-FAITH CONFERENCE

          Pursuant to Local Rule 7.1(a)(3), I certify that counsel for the movant has conferred with

  all parties who may be affected by the relief sought in this motion. We were unable to resolve the

  issues raised in this memorandum.


                                                      Attorneys for Dr. Craig Wright

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                                  CERTIFICATE OF SERVICE

         I certify that on November 18, 2019, I electronically filed this document with the Clerk of

  the Court using CM/ECF. I also certify that this document is being served today on all counsel of

  record by transmission of Notices of Electronic Filing generated by CM/ECF or by U.S. Mail.

                                                              /s/ Andres Rivero_______
                                                              ANDRES RIVERO




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